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     United States Court of Appeals
         for the Federal Circuit
                    ______________________

                      LARRY GOLDEN,
                      Plaintiff-Appellant

                               v.

                      UNITED STATES,
                      Defendant-Appellee
                    ______________________

                          2024-2256
                    ______________________

    Appeal from the United States Court of Federal Claims in No.
1:23-cv-00811-EGB, Senior Judge Eric G. Bruggink.
                    ______________________

                         JUDGMENT
                    ______________________

THIS CAUSE having been considered, it is

ORDERED AND ADJUDGED:

AFFIRMED

                                              FOR THE COURT




March 24, 2025
    Date
